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 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     Brian Whitaker                            Case No.

12               Plaintiff,
                                                 Complaint For Damages And
13       v.                                      Injunctive Relief For Violations
                                                 Of: Americans With Disabilities
14     Home Depot U.S.A., Inc., a                Act; Unruh Civil Rights Act
       Delaware Corporation
15
                 Defendant.
16
17
           Plaintiff Brian Whitaker complains of Home Depot U.S.A., Inc., a
18
     Delaware Corporation; and alleges as follows:
19
20
       PARTIES:
21
       1. Plaintiff is a California resident with physical disabilities. He is
22
     substantially limited in his ability to walk. He suffers from a C-4 spinal cord
23
     injury. He is a quadriplegic. He uses a wheelchair for mobility.
24
       2. Defendant Home Depot U.S.A., Inc. owned the real property located at
25
     or about 12975 W Jefferson Blvd, Los Angeles, California, in November 2020.
26
       3. Defendant Home Depot U.S.A., Inc. owns the real property located at or
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     about 12975 W Jefferson Blvd, Los Angeles, California, currently.
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 1     4. Defendant Home Depot U.S.A., Inc. owned The Home Depot located at
 2   or about 12975 W Jefferson Blvd, Los Angeles, California, in November 2020.
 3     5. Defendant Home Depot U.S.A., Inc. owns The Home Depot (“Store”)
 4   located at or about 12975 W Jefferson Blvd, Los Angeles, California,
 5   currently.
 6     6. Plaintiff does not know the true names of Defendants, their business
 7   capacities, their ownership connection to the property and business, or their
 8   relative responsibilities in causing the access violations herein complained of,
 9   and alleges a joint venture and common enterprise by all such Defendants.
10   Plaintiff is informed and believes that each of the Defendants herein is
11   responsible in some capacity for the events herein alleged, or is a necessary
12   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
13   the true names, capacities, connections, and responsibilities of the Defendants
14   are ascertained.
15
16     JURISDICTION & VENUE:
17     7. The Court has subject matter jurisdiction over the action pursuant to 28
18   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
19   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
20     8. Pursuant to supplemental jurisdiction, an attendant and related cause
21   of action, arising from the same nucleus of operative facts and arising out of
22   the same transactions, is also brought under California’s Unruh Civil Rights
23   Act, which act expressly incorporates the Americans with Disabilities Act.
24     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
25   founded on the fact that the real property which is the subject of this action is
26   located in this district and that Plaintiff's cause of action arose in this district.
27
28     FACTUAL ALLEGATIONS:


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 1     10. Plaintiff went to the Store in November 2020 with the intention to avail
 2   himself of its goods and to assess the business for compliance with the
 3   disability access laws.
 4     11. The Store is a facility open to the public, a place of public
 5   accommodation, and a business establishment.
 6     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 7   to provide wheelchair accessible paths of travel in conformance with the ADA
 8   Standards as it relates to wheelchair users like the plaintiff.
 9     13. The Store provides paths of travel to its customers but fails to provide
10   any wheelchair accessible paths of travel.
11     14. The problem that plaintiff encountered is that the paths of travel in the
12   nursery/garden area were too narrow.
13     15. Plaintiff believes that there are other features of the paths of travel that
14   likely fail to comply with the ADA Standards and seeks to have fully compliant
15   paths of travel for wheelchair users.
16     16. On information and belief, the defendants currently fail to provide
17   wheelchair accessible paths of travel.
18     17. Additionally, on the date of the plaintiff’s visit, the defendants failed to
19   provide wheelchair accessible service counters in conformance with the ADA
20   Standards as it relates to wheelchair users like the plaintiff.
21     18. The Store provides service counters to its customers but fails to provide
22   any wheelchair accessible sales or transaction and service counters.
23     19. A problem that plaintiff encountered was that the service counters were
24   too high and there was no lowered portion of the service counters suitable for
25   wheelchair users in the return area.
26     20. Plaintiff believes that there are other features of the service counters
27   that likely fail to comply with the ADA Standards and seeks to have fully
28   compliant service counters for wheelchair users.


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 1     21. On information and belief, the defendants currently fail to provide
 2   wheelchair accessible service counters.
 3     22. These barriers relate to and impact the plaintiff’s disability. Plaintiff
 4   personally encountered these barriers.
 5     23. As a wheelchair user, the plaintiff benefits from and is entitled to use
 6   wheelchair accessible facilities. By failing to provide accessible facilities, the
 7   defendants denied the plaintiff full and equal access.
 8     24. The failure to provide accessible facilities created difficulty and
 9   discomfort for the Plaintiff.
10     25. Even though the plaintiff did not confront the barrier, the restroom sinks
11   are not wrapped to protect against burning contact. Plaintiff seeks to have
12   these barriers removed as they relate to and impact his disability.
13     26. The defendants have failed to maintain in working and useable
14   conditions those features required to provide ready access to persons with
15   disabilities.
16     27. The barriers identified above are easily removed without much
17   difficulty or expense. They are the types of barriers identified by the
18   Department of Justice as presumably readily achievable to remove and, in fact,
19   these barriers are readily achievable to remove. Moreover, there are numerous
20   alternative accommodations that could be made to provide a greater level of
21   access if complete removal were not achievable.
22     28. Plaintiff will return to the Store to avail himself of its goods and to
23   determine compliance with the disability access laws once it is represented to
24   him that the Store and its facilities are accessible. Plaintiff is currently deterred
25   from doing so because of his knowledge of the existing barriers and his
26   uncertainty about the existence of yet other barriers on the site. If the barriers
27   are not removed, the plaintiff will face unlawful and discriminatory barriers
28   again.


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 1     29. Given the obvious and blatant nature of the barriers and violations
 2   alleged herein, the plaintiff alleges, on information and belief, that there are
 3   other violations and barriers on the site that relate to his disability. Plaintiff will
 4   amend the complaint, to provide proper notice regarding the scope of this
 5   lawsuit, once he conducts a site inspection. However, please be on notice that
 6   the plaintiff seeks to have all barriers related to his disability remedied. See
 7   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 8   encounters one barrier at a site, he can sue to have all barriers that relate to his
 9   disability removed regardless of whether he personally encountered them).
10
11   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
12   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
13   Defendants.) (42 U.S.C. section 12101, et seq.)
14     30. Plaintiff re-pleads and incorporates by reference, as if fully set forth
15   again herein, the allegations contained in all prior paragraphs of this
16   complaint.
17     31. Under the ADA, it is an act of discrimination to fail to ensure that the
18   privileges, advantages, accommodations, facilities, goods and services of any
19   place of public accommodation is offered on a full and equal basis by anyone
20   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
21   § 12182(a). Discrimination is defined, inter alia, as follows:
22             a. A failure to make reasonable modifications in policies, practices,
23                or procedures, when such modifications are necessary to afford
24                goods,     services,     facilities,   privileges,    advantages,      or
25                accommodations to individuals with disabilities, unless the
26                accommodation would work a fundamental alteration of those
27                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
28             b. A failure to remove architectural barriers where such removal is


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 1                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 2                defined by reference to the ADA Standards.
 3            c. A failure to make alterations in such a manner that, to the
 4                maximum extent feasible, the altered portions of the facility are
 5                readily accessible to and usable by individuals with disabilities,
 6                including individuals who use wheelchairs or to ensure that, to the
 7                maximum extent feasible, the path of travel to the altered area and
 8                the bathrooms, telephones, and drinking fountains serving the
 9                altered area, are readily accessible to and usable by individuals
10                with disabilities. 42 U.S.C. § 12183(a)(2).
11     32. When a business provides paths of travel, it must provide accessible
12   paths of travel.
13     33. Here, accessible paths of travel have not been provided in conformance
14   with the ADA Standards.
15     34. When a business provides facilities such as service counters, it must
16   provide accessible service counters.
17     35. Here, accessible service counters have not been provided in
18   conformance with the ADA Standards.
19     36. The Safe Harbor provisions of the 2010 Standards are not applicable
20   here because the conditions challenged in this lawsuit do not comply with the
21   1991 Standards.
22     37. A public accommodation must maintain in operable working condition
23   those features of its facilities and equipment that are required to be readily
24   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
25     38. Here, the failure to ensure that the accessible facilities were available
26   and ready to be used by the plaintiff is a violation of the law.
27
28   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL


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 1   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 2   Code § 51-53.)
 3      39. Plaintiff repleads and incorporates by reference, as if fully set forth
 4   again herein, the allegations contained in all prior paragraphs of this
 5   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 6   that persons with disabilities are entitled to full and equal accommodations,
 7   advantages, facilities, privileges, or services in all business establishment of
 8   every kind whatsoever within the jurisdiction of the State of California. Cal.
 9   Civ. Code §51(b).
10      40. The Unruh Act provides that a violation of the ADA is a violation of the
11   Unruh Act. Cal. Civ. Code, § 51(f).
12      41. Defendants’ acts and omissions, as herein alleged, have violated the
13   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
14   rights to full and equal use of the accommodations, advantages, facilities,
15   privileges, or services offered.
16      42. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
17   discomfort or embarrassment for the plaintiff, the defendants are also each
18   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
19   (c).)
20
21             PRAYER:
22             Wherefore, Plaintiff prays that this Court award damages and provide
23   relief as follows:
24           1. For injunctive relief, compelling Defendants to comply with the
25   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
26   plaintiff is not invoking section 55 of the California Civil Code and is not
27   seeking injunctive relief under the Disabled Persons Act at all.
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 1      2. Damages under the Unruh Civil Rights Act, which provides for actual
 2   damages and a statutory minimum of $4,000 for each offense.
 3      3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 4   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 5
     Dated: November 18, 2020        CENTER FOR DISABILITY ACCESS
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 7
                                     By:
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                                     _______________________
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                                            Russell Handy, Esq.
11                                          Attorney for plaintiff

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     Complaint
